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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  GLYNICE SIMMONS, individually and as
  Administratrix of the ESTATE OF DAINELL
  ERIK SIMMONS,                                                             14 CV 3884 (AMD) (ARL)

                                              Plaintiffs,                   ORDER OF
                                                                            COMPROMISE
                   -against-

  COUNTY OF SUFFOLK; George Oliva; Karen Grenia;
  Susan Cataldo; Sal Yovino; James Poltorak; Kevin
  Wuestenhoff; Jeffrey Pitkewics; Steven Turner; Richard
  Ciaccio, James Samartino; Denise Fierro; Frank Leotta, and
  POLICE OFFICERS “JOHN DOE” 1-10,

                                              Defendants.

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          WHEREAS, Plaintiff Glynice Simmons, as Administrator of the Estate of Dainell Erik

  Simmons, commenced the above-captioned action in this Court; and

          WHEREAS, the parties now desire to settle this action, and have agreed to settle all

  claims, inclusive of all costs, disbursements, and attorneys’ fees, for the total amount of

  $1,850,000; and

          WHEREAS, pursuant to Local Rule 83.2(b), N.Y. E.P.T.L. § 5-4.6, and N.Y. G.M.L.

  § 6-n(10), Plaintiff has requested that this Court approve this settlement as fair and reasonable

  and also approve Plaintiff’s counsel’s attorneys’ fees and disbursements; and

          WHEREAS, the Court has reviewed the parties’ submission, including the Declarations

  of Arlene Zwilling, Eric Hecker, and Glynice Simmons, and the attachments thereto;
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         NOW, THEREFORE, IT IS HEREBY ORDERED that:

         1.      The total settlement amount of One Million Eight Hundred Fifty Thousand

  Dollars ($1,850,000.00) inclusive of all costs, disbursements, and attorney’s fees (the

  “Settlement Amount”) is hereby approved as just, fair, and reasonable.

         2.      The Court further finds that the Settlement Amount is in the best interests of

  Suffolk County, and is hereby approved pursuant to G.M.L. § 6-n(10).

         3.      No later than thirty (30) days from the date of this Order, Defendant County of

  Suffolk shall deliver to Plaintiff’s counsel a check made payable to “Brett H. Klein, Esq., PLLC

  as Attorneys for Glynice Simmons, Administrator of the Estate of Dainell Erik Simmons” in the

  amount of the Settlement Amount.

         4.      The Settlement Amount shall be deposited into an interest-bearing escrow account

  controlled by Brett H. Klein, Esq., PLLC and shall be distributed as follows:

              a. Plaintiff’s counsel’s attorneys’ fees of $608,112.89 are hereby approved as fair

                 and reasonable, and such amount shall be distributed to Plaintiff’s counsel

                 promptly after the Settlement Amount is received.

              b. Plaintiff’s counsel’s disbursements of $25,661.33 are hereby approved as fair and

                 reasonable, and Plaintiff’s counsel shall be reimbursed for such amount out of the

                 Settlement Amount promptly after the Settlement Amount is received.

              c. The remainder of the Settlement Amount following the payment of Plaintiff’s

                 counsel’s attorney’s fees and disbursements (the “Net Settlement Amount”) shall

                 remain in an interest-bearing escrow account controlled by Brett H. Klein, Esq.,

                 PLLC until the Surrogate’s Court issues an order directing the distribution, in part

                 or in whole, of the Net Settlement Amount.

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  IT IS SO ORDERED.

  Dated:
                                     _________________________
                                     HON. ANN M. DONNELLY
                                     United States District Judge




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